Case 08-14631-GMB      Doc 80-1 Filed 03/31/08 Entered 03/31/08 08:48:41             Desc
                        Certificate of Service Page 1 of 2




    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY
    Emmanuel J. Argentieri (#3162)
    PARKER McCAY P.A.
    P.O. Box 974
    Marlton, New Jersey 08053
    (856) 596-8900
    Attorneys for Pennsauken Township




    In Re:                                            Chapter 11
    SHAPES/ARCH HOLDINGS, LLC et al.
                                                      Case No: 08-14631 (GMB)

                                     Debtor           Judge: Gloria M. Burns




                                 CERTIFICATE OF SERVICE

           I, NATALIA ARENA, of full age, hereby certify as follows:

           1.     I am employed in the offices of PARKER McCAY P.A., attorneys for the

    Secured Creditor, Township of Pennsauken., in the above-entitled matter.

           2.     On March 31, 2008 I served, by facsimile and FedEx Overnight Delivery,

    Limited Objection by Pennsauken Township to Debtor’s Request for a Final Order

    Authorizing Debtor’s Obtainment of Post-Petition Financing in the above captioned matter

    to:

           Mark E. Felger, Esquire – Fax No. (856) 910-5075
           Cozen O’Connor
           Liberty View, Suite 300
           457 Haddonfield Road
           Cherry Hill, NJ 08002
           Debtor’s Counsel
Case 08-14631-GMB    Doc 80-1 Filed 03/31/08 Entered 03/31/08 08:48:41                  Desc
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          John C. Kilgannon - Fax No. (610) 371-7954
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          1818 Market Street
          29th Floor
          Philadelphia, PA 19103

          Joel C. Shapiro, Esquire – Fax No. (215) 832-5746
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          One Logan Square
          130 North 18th Street
          Philadelphia, PA 19103-6998
          Counsel for Arcus Holders

          Paul A. Patterson, Esquire – Fax No. (215) 564-8120
          Stradley, Ronon, Stevens and Young
          2600 One Commerce Square
          Philadelphia, PA 19103
          Counsel for CIT

          Office of the United States Trustee – Fax No. (973) 645-5993
          One Newark Center
          Suite 2100
          Newark, NJ 07102


          3.     I hereby certify under penalty of perjury that the foregoing is true and correct.




                                                 /s/ NATALIA ARENA
                                                NATALIA ARENA

    Dated: 3/31/08
